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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA, )
Plaintiff, )
vs. ) CRIMINAL NO. 3:17-cr-30090-MJR
TEREZE L. FENDERSON,
Defendant.
STIPULATION OF FACTS

Now comes, The United States of America, by Steven D. Weinhoeft, United States
Attorney for the Southern District of Illinois, who enters into the following Stipulation of Facts
with the Defendant, TEREZE L. FENDERSON, and his attorney, pertaining to the Defendant’s
relevant conduct, within the scope of U.S.S.G. §1B1.3. The parties hereby stipulate and agree as
follows:

1. In January 2015, the Bureau of Alcohol, Tobacco, and Firearms (BATF)
participated ‘in an investigation into gun and drug activity in the East St. Louis and Alorton area.
On February 5, 2016, BATF executed a search warrant at TEREZE L. FENDERSON’s residence
located on South 40" Street, in Alorton, Illinois. FENDERSON was standing on the front porch
when police arrived. Agents announced their presence and advised that they had a search warrant.
FENDERSON ran inside and locked the door. Agents ultimately made forced entry into the home.

2. Agents executed the warrant and searched the house finding more than four pounds
of marijuana, along with packaging materials. They also found a Taurus, PT92AF, 9mm semi-
automatic pistol, bearing serial number TSL55995 on the dining room table. That firearm was
manufactured in Brazil and imported into the United States through the state of Florida.

FENDERSON waived his Miranda rights and admitted that the gun was his, and that he had

 

 

 
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purchased it from “some crackhead” for $200. Approximately 68 lbs. of FENDERSON’s
marijuana was separately recovered from his girlfriend’s house.

3. Prior to possessing the Taurus 9 mm handgun, FENDERSON had been convicted
of a felony punishable by imprisonment for a term exceeding one year, being: Involuntary
Manslaughter, in violation of 720 ILCS 5/9-3(a), on June 1, 2005, in St. Clair County, Illinois,
Cause Number 05-CF-93.

4, While agents were executing the warrant on February 5, 2016, T.R. came to the
house. T.R. was a long-term associate who had distributed large quantities of marijuana for
FENDERSON in the past. T.R. spoke to investigators at the scene, was released without arrest,
and faced no charges.

5. On May 16, 2017, a federal grand jury returned an indictment against
FENDERSON in the Southern District of Illinois for Unlawful Possession of a Firearm by a
Previously Convicted Felon stemming from the seizure of the firearm during the execution of the
search warrant. The US Marshals Service executed the arrest warrant on September 20, 2017,
when agents arrested FENDERSON at his residence. Approximately $13,000 was seized from his
residence after his arrest. Following the initial appearance and arraignment, FENDERSON, was
placed on pre-trial release pursuant to an order of the United States District Court for the Southern
District of Illinois, dated September 20, 2017, (Cause No. 3:17-cr-30090-MJR, Doc. 12). That
order notified FENDERSON of the potential effect and consequences of committing an offense
while on pretrial release.

6. The relationship between T.R. and FENDERSON deteriorated after the execution
of the original search warrant on February 5, 2016. T.R. began avoiding and ceased engaging in

marijuana transactions with FENDERSON, who accused T.R. of speaking to law enforcement.

 
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The situation worsened after the September 20, 2017, arrest and seizure of $13,000.

7. In the early morning hours of October 22, 2017, T.R. was at a party Spanky’s
Lounge, located at 1434 Piggott Ave, East St Louis, Illinois. Pictures of the event “tagging” T.R.
were posted to publicly viewable social media threads. At approximately 12:53 AM, T.R. was
standing outside of the bar talking with a friend when FENDERSON pulled up driving a black
Mazda CX-7 crossover SUV. FENDERSON did not try to enter the bar; rather he walked directly
towards T.R. to confront him. T.R. backed up and walked into the street to get away from
FENDERSON. A mutual friend interceded and engaged FENDERSON while T.R. extricated
himself from the situation by walking around the building and out of sight.

8. Individual #2 (initials M.R.) accompanied FENDERSON as he got out of the car
to confront T.R. Neither FENDERSON nor Individual #2 attempted to enter the bar. Rather, after
T.R. fled, they went directly back to the Mazda CX-7, with FENDERSON driving and Individual
#2 getting into the back seat on the drivers’ side. Individual #3 (initials D.N.) was in the front seat
passenger’s seat and remained in the vehicle during the confrontation, FENDERSON circled the
block looking for T.R. Approximately two minutes later, they found T.R. hiding near the
intersection of 15" and Piggott Streets. FENDERSON stopped the car in 15" Street and both
FENDERSON and Individual #2 began shooting at T.R., striking him in the hip and lower leg.
T.R. sought cover behind a vehicle parked nearby and returned fire three times from his own
handgun, which caused FENDERSON to speed away.

9. T.R. was taken to a nearby hospital for treatment. The shot to T.R.’s lower leg broke
both of the bones, requiring multiple surgeries to repair.

10. T.R. surrendered his firearm, which he lawfully owned while possessing an Illinois

FOID card. That firearm was compared to shell casings found at the scene, which confirmed that

 

 
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T.R. fired three shots from the yard behind a parked car as he described.
11. Fourteen (14) spent shell casings, from two other two guns, were found in 15"
Street, where T.R. said the Mazda CX-7 stopped to shoot. Four (4) of those shell casings were

from a 9 mm handgun, while ten (10) other casings were fired from a .40 caliber firearm.

UNITED STATES OF AMERICA,

Cane Londen STE)
TEREZE L. FENDERSON Ss N D. WEINHOEFT

Defendant United States Attorney

 

 

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